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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

WILLIAM C. RODEN, M.D.,                      §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §           C.A. No. 1:15-cv-00255
                                             §
THE PAUL REVERE LIFE                         §
INSURANCE COMPANY,                           §
                                             §
       Defendant.                            §

                                   NOTICE OF REMOVAL

       Defendant The Paul Revere Life Insurance Company (“Paul Revere” or

“Defendant”), for the purpose only of removing this cause to the United States District

Court for the Western District of Texas, Austin Division, states:

                              I.    STATE COURT ACTION

       On March 6, 2015, Plaintiff William C. Roden, M.D. (“Roden” or “Plaintiff”)

filed suit against Paul Revere in the 419th Judicial District Court of Travis County,

Texas, where it was numbered D-1-GN-15-000887 on the docket of that court. Roden

has asserted claims for breach of contract, violations of Texas Insurance Code, and

declaratory judgment. He seeks to recover actual damages, treble damages, attorney’s

fees, pre-judgment and post-judgment interest, and costs of court.

                    II.    SUBJECT MATTER JURISDICTION EXISTS

A.     Diversity Jurisdiction.

       1.     The Parties Are Completely Diverse. Roden was a citizen of Texas

during the time when substantially all of the events at issue in this lawsuit occurred.

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Roden moved to Georgia at the end of 2014/early 2015 and it is believed that he is

currently a citizen of Georgia. Paul Revere is a Massachusetts insurance company doing

business in Texas with its principal place of business in Worcester, Massachusetts. Paul

Revere was a citizen of Massachusetts at the time this action was filed and remains a

citizen of Massachusetts as of the date of this removal. Thus, regardless of whether

Roden is considered a citizen of Texas or a citizen of Georgia for purposes of removal

and jurisdiction, complete diversity of citizenship exists between Roden and Paul Revere.

       2.     The Requisite Amount in Controversy is Satisfied.          The amount in

controversy exceeds the sum or value of $75,000.00, exclusive of interest and costs.

Specifically, Roden alleges in his Original Petition that he seeks monetary relief over

$200,000.00 but not more than $1,000,000.00, and non-monetary relief in the form of

declaratory judgment. See Plaintiff’s Original Petition at 1. It is therefore clear from

Roden’s pleading that the amount in controversy exceeds the sum or value of $75,000.00,

exclusive of interest and costs. Because the parties are completely diverse and the

amount in controversy exceeds $75,000.00, exclusive of interest and costs, the Court has

original jurisdiction over this action pursuant to 28 U.S.C. § 1332.

       3.     The Removal is Timely. The first time that Paul Revere received service

of the state court action, through service or otherwise, was on March 10, 2015. As such,

the removal is timely under 28 U.S.C. § 1446.

                            III.   REMOVAL IS PROPER

       Because the parties are completely diverse and the amount in controversy exceeds

$75,000.00, exclusive of interest and costs, the Court has jurisdiction over this action


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pursuant to 28 U.S.C. § 1332. Accordingly, this action may be removed pursuant to 28

U.S.C. § 1441. Venue is proper in this Court under 28 U.S.C. § 1391, as this action was

pending in a state court within this district and division. Finally, and as discussed above,

removal is timely under 28 U.S.C. § 1446(b).

                 IV.     STATE COURT DOCUMENTS ATTACHED

       Attached as Exhibit A is an “Index of State Court Documents,” which includes

true and correct copies of the state court docket sheet and all documents filed in the state

court action. These documents constitute all of the process, pleadings, or orders filed in

state court or served on Paul Revere.

                              V.      RELIEF REQUESTED

       Paul Revere respectfully requests that the United States District Court for the

Western District of Texas, Austin Division, accept this notice of removal, assume

jurisdiction of this cause and issue all orders and processes necessary to bring before it all

parties necessary for the trial hereof.




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                                            Respectfully submitted,


                                            By: /s/ Dennis M. Lynch
                                                 Dennis M. Lynch
                                                 State Bar No. 90001506
                                                 dennis.lynch@figdav.com
                                                 Roshanak Khosravighasemabadi
                                                 State Bar No. 24048587
                                                 rosh.khosravi@figdav.com

                                            FIGARI & DAVENPORT, L.L.P.
                                            3400 Bank of America Plaza
                                            901 Main Street, LB 125
                                            Dallas, Texas 75202-3796
                                            (214) 939-2000
                                            (214) 939-2090 (Facsimile)

                                            ATTORNEYS FOR DEFENDANT
                                            THE PAUL REVERE LIFE INSURANCE
                                            COMPANY


                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing document has been

sent by certified mail, return receipt requested, to Mr. Jon Michael Smith, 3305

Northland Drive, Suite 500, Austin, Texas 78731, on this the 3rd day of April, 2015.



                                            /s/ Dennis M. Lynch
                                            Dennis M. Lynch




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